UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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GOVERNMENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY,
GEICO GENERAL INSURANCE COMPANY and                                     Docket No.: 19-cv-05158
GEICO CASUALTY COMPANY,

                               Plaintiffs,

                  -against-

TREMONT DIAGNOSTIC IMAGING, P.C. d/b/a
BRONX IMAGING NYC, CHARLES J. DEMARCO,
M.D., AAA MANAGEMENT NYC LLC, ALBERT
FOOZAILOV, JOSEPH STERN and JOHN DOE
DEFENDANTS 1-10,
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                                        NOTICE OF APPEARANCE

Please enter my appearance as counsel for the Plaintiffs, GOVERNMENT EMPLOYEES
INSURANCE COMPANY, GEICO INDEMNITY COMPANY, GEICO GENERAL
INSURANCE COMPANY and GEICO CASUALTY COMPANY, in the above-titled
action.
Dated:            Uniondale, New York
                  September 17, 2019
                                                      RIVKIN RADLER LLP
                                             By:      /s/ Barry I. Levy
                                                      Barry I. Levy
                                                      926 RXR Plaza
                                                      Uniondale, New York 11556-0926
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